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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                               Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC1                       Case No. 22-10602 (JKS)

                            Debtor.                      Re: Docket No. 868


                                 CERTIFICATE OF NO OBJECTION

             I, Brya M. Keilson, hereby certify as follows:

             On December 1, 2023, ABC Services Group, Inc./Charles Klaus, as Chief Liquidating

Officer to the Debtor, filed the Notice of Staffing Report by ABC Services Group, Inc. for the

Period from November 1, 2023 through November 30, 2023 (the “Staffing Report”) [Docket No.

868].

             The deadline to object to the Staffing Report was December 15, 2023.

             The undersigned further certifies that after reviewing the Court’s docket in this case, no

formal answer, objection, or other responsive pleading to the Staffing Report appears thereon.


    Dated: December 18, 2023                    MORRIS JAMES LLP

                                                /s/ Brya M. Keilson                                 .
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                                                500 Delaware Avenue, Suite 1500
                                                Wilmington, DE 19801
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                                                Counsel to the Debtors and Debtors in
                                                Possession




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 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.



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